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                   12   Tile, Inc. and Life360, Inc.

                   13
                                                         UNITED STATES DISTRICT COURT
                   14
                                                   NORTHERN DISTRICT OF CALIFORNIA
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                   16
                        SHANNON IRELAND-GORDY and                        Case No. 3:23-CV-04119-AMO
                   17   STEPHANIE IRELAND GORDY,
                        individually and on behalf of all others         DECLARATION OF JEFFREY M.
                   18   similarly situated,                              GUTKIN IN SUPPORT OF THE
                                                                         PARTIES’ STIPULATION AND
                   19                      Plaintiffs,                   [PROPOSED] ORDER CONTINUING
                                                                         INITIAL CASE MANAGEMENT
                   20          v.                                        CONFERENCE AND DEFENDANTS’
                                                                         DEADLINE TO RESPOND OT
                   21   TILE, INC., LIFE360, INC., and                   COMPLAINT
                        AMAZON.COM, INC.,
                   22                                                    Date Action Filed: 08/14/2023
                                           Defendants.
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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO                                                                  GUTKIN DECL. ISO STIPULATION TO
                                                                                  CONTINUE CMC AND DEADLINES
                                                                                          CASE NO. 3:23-CV-04119
                          Case 3:23-cv-04119-RFL Document 21-1 Filed 10/23/23 Page 2 of 3



                    1          I, Jeffrey M. Gutkin, declare as follows:

                    2          1.      I am an attorney with the law firm Cooley LLP, licensed to practice in the State of

                    3   California. I represent Tile, Inc. and Life360, Inc. in the above-captioned matter. I have personal

                    4   knowledge of the following facts and if called to testify, could and would competently testify

                    5   thereto.

                    6          2.      I submit this declaration in accordance with Rule 6-2(a) of the civil Local Rules for

                    7   the United States District Court for the Northern District of California.

                    8          3.      On August 14, 2023, Shannon Ireland-Gordy and Stephanie Ireland Gordy

                    9   (“Plaintiffs”) filed a putative class action complaint (the “Complaint”) against Tile, Inc., Life360,

                   10   Inc., and Amazon.com, Inc. (“Defendants”; with Plaintiffs, the “Parties”) (ECF No. 1).

                   11          4.      The Court scheduled an Initial Case Management Conference for November 16,

                   12   2023 (the “Initial CMC”) (ECF No. 9).

                   13          5.      On September 16, 2023, Tile, Inc., Life360, Inc. and Plaintiffs stipulated to extend

                   14   the Tile, Inc. and Life360, Inc.’s deadline to respond to the Complaint to November 7, 2023 (ECF

                   15   No. 20). The stipulation extending Tile, Inc. and Life360, Inc.’s deadline to respond to the

                   16   Complaint is the only time modification the Parties have stipulated to in this case. The Court has

                   17   ordered no time modifications.

                   18          6.       The Parties have met and conferred and wish to engage in private mediation to

                   19   explore a mutually-agreeable resolution of the claims in the Complaint that would render further

                   20   litigation unnecessary. The Parties agree that, in an effort to preserve the Parties’ and the Court’s

                   21   resources, and to accommodate possible early resolution, the Initial CMC should be continued by

                   22   approximately four months and Defendants’ deadlines to respond to the Complaint should be

                   23   vacated while mediation is attempted.

                   24          7.      If granted, the requested relief would continue the Initial CMC in this matter by four

                   25   or more months and would vacate Defendants’ deadline to respond to the Complaint, which

                   26   deadline would be reset by agreement of the Parties or Court order.

                   27   ///

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 SAN FRANCISCO                                                                        GUTKIN DECL. ISO STIPULATION TO
                                                                           2            CONTINUE CMC AND DEADLINES
                                                                                                CASE NO. 3:23-CV-04119
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                    1               I declare under penalty of perjury that the foregoing is true and correct. Executed this 23rd

                    2   day of October 2023.

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                                                                                             /s/ Jeffrey M. Gutkin
                    4                                                                         Jeffrey M. Gutkin
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                                                                              3             CONTINUE CMC AND DEADLINES
                                                                                                    CASE NO. 3:23-CV-04119
